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     Attorneys for Defendants Bugher, Crites, DiGiulio, and Irving


                                    IN THE UNITED STATES DISTRICT COURT

                                        FOR THE DISTRICT OF OREGON



     JABBAR SACHET AL-KHAFAGI,                               Case No. 2:19-CV-00669-MO

                       Plaintiff,                            DEFENDANTS' UNOPPOSED MOTION
                                                             FOR EXTENSION OF TIME FOR
                                                             DISCOVERY AND PRE-TRIAL
              v.                                             DEADLINES
     CHARLES C. SUNG, MD; (FNU) CRITES,
     Oregon State Correctional Institution (OSCI),
     Registered Nurse (RN); LORETTA IRVING,
     (OSCI) Medical Services Manager;
     CHRISTOPHER DIGIULIO, Oregon
     Department of Corrections (ODOC) Medical
     Director; JOE BUGHER, ODOC Health
     Services Administrator; and JOHN AND
     JANE DOES 1-20,

                       Defendants.


                                       CERTIFICATE OF CONFERRAL

              Pursuant to UTCR 5.010 counsel for the above-listed State counsel for Plaintiff (Jonathan

     Gersten) and Defendants (Robert Sullivan) conferred before filing this motion. Counsel are in

     agreement regarding this request for an extension of time.



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           DISCOVERY AND PRE-TRIAL DEADLINES
           RS/bl2/9658024-v1
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                                                    MOTION

              The current deadlines in this case are below. For the reasons set forth below, Counsel for

     the State of Oregon Defendants respectfully requests, and Plaintiff’s counsel does not oppose, an

     extension of discovery and pre-trial order deadlines for an additional ninety (90) days.



                                        Current Deadline                            Proposed Deadline
       Discovery and Joint ADR          November 17, 2022                           February 15, 2023
       report

       Expert Disclosures               December 16, 2022                           March 16, 2023

       Expert Rebuttal Reports          January 16, 2023                            April 16, 2023

       Expert Discovery                 February 15, 2023                           May 16, 2023

       Dispositive Motions              March 17, 2023                              June 15, 2023

       Pretrial Order                   30 days after dispositive
                                        motion ruling

              The parties have exchanged prior pleadings and discovery now that Mr. Gersten has

     joined the case. The parties have made real progress in discussions toward resolving the case

     through ADR. In addition, the parties are considering the possibility of adding one or more

     additional defendants, or potentially filing a parallel action in USDC (Washington) in order to

     obtain more complete discovery and to bring in all parties that are believed to be responsible for

     Plaintiff’s alleged injuries.
              The parties have multiple upcoming trials that will somewhat burden progress in this

     matter. However, we anticipate significant progress by late December regarding additional

     defendant(s) and/or potential filing of a parallel complaint. The additional time will aid the

     parties in exhausting settlement efforts either directly or with the assistance of a mediator or

     judicial settlement conference.



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              I hereby declare that the above statement is true to the best of my knowledge and

     belief, and that I understand it is made for use as evidence in court and is subject to penalty

     for perjury.



              DATED November 17 , 2022.

                                                        Respectfully submitted,

                                                        ELLEN F. ROSENBLUM
                                                        Attorney General


                                                            s/ Robert E. Sullivan
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